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Reply to Southern Division Address

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
OFFICE OF THE CLERK

Felicia C. Cannon, Clerk of Court
Elizabeth B. Snowden, Chief Deputy
Catherine Stavlas, Chief Deputy

December 12, 2018

Debra Bonilla-Mead
P.O Box 2873
Gaithersburg, MD 20886

Re: — Case No. 8:18-cv-03113-PX Bonilla-Mead et al v. McCabe Weisberg, and

Conway, llc (MWC) et al

Dear Counsel/Party:

The Clerk received your filing on November 28, 2018: however, it is deficient in the
area(s) checked below and is being returned to you, at the direction of the presiding judge.

Noncompliance with L.R. 101 or 102
[) Member of bar has not signed the document.
[] Business entities other than sole

proprietorships must be represented by
counsel.

Noncompliance with L.R. 104 or 105
(| Discovery materials should not be filed unless
in support of a motion or by court order.

(] Discovery motion filed contrary to L.R. 104.7.

(] Motion to compel filed contrary to L.R. 104.8.

cc: Other counsel/party
Return pleading letter (Rev. 02/2011)

Noncompliance with L.R. 102 and FRCivP 5
L] Certificate of service not affixed to document.

L] Certificate of service not dated and/or not
signed.

Miscellaneous
(j Document does not contain original signature.

[] Document relates to more than one file.
Original and appropriate copies are required
for each file unless the cases have been
consolidated for all purposes.

L] Offer of judgment should not be filed with the
Court until it has been accepted. Fed. R. Civ.
P. 68.

Other: The above captioned civil case was

dismissed on November 16, 2018. Your filing

is being returfied to you un-docketed

[a 141%

Date

       
 

 

Paula Xinis
United States District Judge

Northern Division * 4228 U.S. Courthouse * 101 W. Lombard Street + Baltimore, Maryland 21201+ 410-962-2600
Southern Division * 200 U.S. Courthouse * 6500 Cherrywood Lane + Greenbelt, Maryland 20770 * 301-344-0660

Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
